     Case 1:17-cr-00071-DAD-SKO Document 46 Filed 09/05/18 Page 1 of 2


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 6   Attorneys for Defendant
     BRYAN KEITH WASHINGTON
 7
 8                           IN THE UNITED STATES DISTRICT COURT

 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11    UNITED STATES OF AMERICA,                   Case No. 1:17-cr-00071 LJO
                                                  Case No. 1:05-cr-00223 LJO
12                    Plaintiff,
                                                  ORDER FOR RELEASE FROM CUSTODY
13    vs.                                         AND MODIFICATION OF CONDITIONS OF
                                                  SUPERVISED RELEASE
14    BRYAN KEITH WASHINGTON,

15                    Defendant.                  Judge: Hon. Lawrence J. O’Neill

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17          This matter came before the court for hearing on September 4, 2018. GOOD CAUSE

18   APPEARING, IT IS HEREBY ORDERED that Defendant Bryan Keith Washington shall be
19   released from custody at the Fresno County Jail on the following conditions:
20          1. Mr. Washington shall be released from custody at the Fresno County Jail at 6:30 a.m.,
               on Thursday, September 6, 2018, for the purpose of obtaining an assessment to
21             determine his eligibility for acceptance into the Delancey Street San Francisco
               residential substance abuse treatment program, located at 600 Embarcadero, San
22             Francisco, California.
23          2. Mr. Washington shall be released to the third party custody of Kevin Mitchel, of the
               Office of the Federal Defender, to be transported directly to Delancey Street San
24             Francisco.
25          3. Provided Mr. Washington is accepted into the Delancey Street residential substance
               abuse treatment program, Mr. Washington shall remain at Delancey Street San
26             Francisco, where he shall reside and participate fully and complete their 24 month
               treatment program.
27
28          //
     Case 1:17-cr-00071-DAD-SKO Document 46 Filed 09/05/18 Page 2 of 2


 1          4. In the event Mr. Washington is not accepted into the Delancey Street residential
               substance abuse treatment program, Bryan Washington shall remain in the third party
 2             custody of Kevin Mitchell who shall transport him directly to the Fresno County Jail,
               in Fresno, California, where Mr. Washington shall be returned to custody pending
 3             disposition of his previously admitted supervised release violation, and new law
               violation
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     IT IS SO ORDERED.
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        Dated:     September 4, 2018                     /s/ Lawrence J. O’Neill _____
 8                                              UNITED STATES CHIEF DISTRICT JUDGE
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       Washington: Proposed Order                  -2-
